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Counsel for Nobuaki Kobayashi, in his capacity
as the Bankruptcy Trustee and Foreign Representative
of MtGox Co., Ltd., a/k/a MtGox KK

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 In re:                                               Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),                    Case No. 14-31229-sgj-15

                 Debtor in a Foreign Proceeding.


                           AMENDED VERIFIED PETITION FOR
                         RECOGNITION AND CHAPTER 15 RELIEF

          Nobuaki Kobayashi, in his capacity as the bankruptcy trustee and foreign representative

(the “Petitioner”) of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor”), a debtor in a bankruptcy

proceeding under Japanese law (the “Japan Proceeding”), currently pending before the Twentieth
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Civil Division of the Tokyo District Court, Japan (the “Tokyo Court”), by his undersigned

counsel, respectfully submits this amended verified petition (the “Amended Recognition

Petition”) for recognition of the Japan Proceeding as a foreign main proceeding pursuant to

section 1517 of title 11 of the United States Code and granting Petitioner other relief under

Chapter 15. If the Court concludes that the Japan Proceeding is not eligible for recognition as a

foreign main proceeding, Petitioner seeks recognition of the Japan Proceeding as a foreign main

proceeding as defined in 11 U.S.C. § 1502(5) and seeks relief under section 1521 of the

Bankruptcy Code.

                               PRELIMINARY STATEMENT

       1.     By this Amended Recognition Petition, Petitioner seeks recognition of the Japan

Proceeding, a bankruptcy procedure against the Debtor under Japan’s Bankruptcy Act, as a

foreign main proceeding under Chapter 15 of the Bankruptcy Code and related relief under

section 1521. On February 28, 2014, the Debtor filed a petition for the commencement of a civil

rehabilitation proceeding in the Tokyo Court pursuant to the Japan’s Civil Rehabilitation Act

(Minji Saisei Ho) (the “JCRA”). On April 16, 2014, the Tokyo Court dismissed that petition and

ordered the administration of the Debtor’s assets by the Petitioner, in the capacity as a

provisional administrator. On April 24, 2014, the Tokyo Court entered an order commencing the

Japan Proceeding and appointing the Petitioner as the bankruptcy trustee for the Debtor.

       2.     As demonstrated by this Amended Recognition Petition, the Exhibits thereto, and

the accompanying Declaration of Nobuaki Kobayashi (the “Kobayashi Declaration”) and the

Memorandum of Law in Support of Amended Petition for Recognition and Chapter 15 Relief,

the Petitioner is an individual person who is the duly authorized foreign representative of the

Debtor and, as such, is entitled to directly petition this Court for recognition of the Japan

Proceeding under 11 U.S.C. § 1509. The Japan Proceeding is a foreign proceeding under 11


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U.S.C. § 101(23). In addition, the Japan Proceeding is a foreign main proceeding as defined by

11 U.S.C. § 1502(4) because it is pending in Japan, which is and has always been the location of

the Debtor’s registered office and its center of main interests. See 11 U.S.C. §§ 1516(c) and

1517(b)(1).

       3.      Because the Japan Proceeding is a foreign main proceeding under 11 U.S.C. §

1502(4), because recognition of the Japan Proceeding would not be manifestly contrary to U.S.

public policy under 11 U.S.C. § 1506, because Petitioner is a foreign representative who is a

person, and because Petitioner has complied with all the requirements of 11 U.S.C. § 1515 and

Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

Petitioner is entitled to entry of an Order, substantially in the form of the proposed order annexed

hereto as Exhibit E, recognizing the Japan Proceeding as a foreign main proceeding under 11

U.S.C. § 1517(b)(1).

       4.      The following documents are annexed hereto in support of this Amended

Recognition Petition:

               a)       Pursuant to 11 U.S.C. § 1515(b), a certified copy of the Order of the

       Tokyo Court commencing the Japan Proceeding and appointing Petitioner as the Debtor’s

       bankruptcy trustee (the “Bankruptcy Order”), and a certified translation of the

       Bankruptcy Order into English pursuant to 11 U.S.C. § 1515(d), are attached hereto as

       Exhibit A.

               b)       Pursuant to 11 U.S.C. § 1515(c), a statement certifying, among other

       things, that no other foreign proceedings with respect to the Debtor are known to the

       Petitioner, is attached hereto as Exhibit B.




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               c)      Pursuant to Bankruptcy Rule 1007(a)(4), a list of the names and addresses

       of all persons or bodies authorized to administer foreign proceedings of the Debtor, all

       parties to litigation pending in the United States in which the Debtor is a party at the time

       of the filing of this Amended Recognition Petition, and all entities against whom

       provisional relief is being sought under 11 U.S.C. § 1519, is attached hereto as Exhibit

       C.

               d)      Pursuant to Bankruptcy Rules 1007(a)(4) and 7007.1, a corporate

       ownership statement is attached hereto as Exhibit D.

       5.      Additionally, a proposed Order Recognizing Foreign Main Proceeding and

Granting Related Relief is attached hereto as Exhibit E. Each of the documents set forth above,

including the Kobayashi Declaration, is incorporated by reference as if fully set forth herein.

                                JURISDICTION AND VENUE

       6.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and

157.

       7.      Venue is proper in this district pursuant to 28 U.S.C. § 1410. The statutory

predicates for relief are sections 105, 1504, 1515, 1517, 1520 and 1521 of the Bankruptcy Code.

                                        BACKGROUND

       8.      MtGox is a Japanese corporation formed in 2011. It is, and always has been,

located, centered and headquartered in Tokyo, Japan. Through February 2014, the Debtor’s

business was the operation of an online exchange (the “MtGox Exchange”) for the purchase and

sale of bitcoin through the Debtor’s website located at http://www.mtgox.com. At one time, the

MtGox Exchange was reported to be the largest online bitcoin exchange in the world, but that is

no longer the case.




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       9.      According to the Japan Petition (defined below), on or about February 10, 2014,

MtGox halted all bitcoin withdrawals by its customers after MtGox was subject to what appears

to have been a massive theft or disappearance of bitcoins held by MtGox. Also according to the

Japan Petition, MtGox suspended all trading on or about February 24, 2014 after it was

discovered, according to an internal investigation, that approximately 850,000 bitcoins were

missing. These events caused, among other things, MtGox to become insolvent and ultimately

led to the Japan Proceeding.

       10.     On February 28, 2014, the Debtor filed a petition (the “Japan Petition”) for the

commencement of a civil rehabilitation proceeding (the “Japan Civil Rehabilitation”) in the

Tokyo Court pursuant to Article 21(1) of the JCRA, reporting that the Debtor had lost almost

850,000 bitcoins.

       11.     On March 9, 2014, the Debtor filed the Verified Petition for Recognition and

Chapter 15 Relief [Docket No. 2], seeking, inter alia, recognition of the Japan Civil

Rehabilitation as a foreign main proceeding under Chapter 15 of the Bankruptcy Code.

       12.     Since the filing of the Japan Petition, the Debtor commenced an investigation

with regard to the circumstances that led to the Japan Civil Rehabilitation. However, in mid-

April 2014, the Debtor filed a notice (joshin-sho) with the Tokyo Court stating that the

investigation would take a long period of time, that there was no specific plan to restart the

Debtor’s business, and that partly due to the status of the investigation, the process for seeking a

buyer in relation to a sale of the Debtor’s assets had not commenced, and therefore the Debtor

would be unable to prepare a rehabilitation plan. On April 16, 2014, the Petitioner, in his

capacity as the Debtor’s supervisor and examiner, submitted his own notice (joshin-sho) in

response to the Debtor’s notice, stating that the Debtor’s statements were not unreasonable and




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that the Petitioner believed it would not be appropriate to grant an order commencing the Japan

Civil Rehabilitation. After receipt of the Petitioner’s notice, the Tokyo Court decided to dismiss

the Japan Petition pursuant to Article 25(3) of the JCRA, recognizing that under the

circumstances it would be very difficult for the Debtor to successfully prepare and approve a

rehabilitation plan or otherwise successfully carry out the Japan Civil Rehabilitation.

       13.     As a result, by separate orders dated April 16, 2014, the Tokyo Court entered

judgments as follows: (a) dismissing the Japan Petition; (b) ordering administration of the

Debtor’s assets by Mr. Kobayashi, in the capacity as a provisional administrator; (c) prohibiting

certain actions by creditors with regard to properties of the Debtor during the interim period

following the dismissal and prior to the commencement of a bankruptcy procedure for the

Debtor; and (d) prohibiting Mr. Kobayashi, in his capacity as the provisional administrator, from

undertaking certain actions with respect to the Debtor’s debt, properties and claims.

       14.     On April 24, 2014, the Tokyo Court entered the Bankruptcy Order, formally

commencing the Debtor’s Japan Proceeding and appointing the Petitioner as bankruptcy trustee.

A certified copy of the Bankruptcy Order, along with its certified English translation, is attached

hereto as Exhibit A.

       15.     As a bankruptcy proceeding under the Bankruptcy Act, the purpose of the Japan

Proceeding is to realize upon and liquidate the Debtor’s assets and distribute them to creditors in

a fair and equitable manner. As bankruptcy trustee, the Petitioner, among other things, is

responsible for administering the Debtor’s bankruptcy estate, investigating bankruptcy claims

and, if resources are available, distributing dividends. Pursuant to the Bankruptcy Act, the

Petitioner is the sole person vested with the power to administer and dispose of the property of

the Debtor’s estate. The Petitioner seeks Chapter 15 recognition of the Japan Proceeding in an




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effort to maximize recoveries to, and provide for an equitable distribution of value among, all

creditors. In particular, the enjoining of certain ongoing litigation against the Debtor in the

United States, in conjunction with the protections afforded by the Japan Proceeding, is essential

to this effort.

                                       RELIEF REQUESTED

        16.       The Petitioner respectfully requests the entry of an Order, in substantially the

form attached hereto as Exhibit E, granting the following relief:

                  (i)     Recognition of the Japan Proceeding as a foreign main proceeding as
                          defined in §§ 1502(4) and 1517(b)(1) of the Bankruptcy Code;

                  (ii)    Granting relief as of right upon recognition of a foreign main proceeding
                          pursuant to 11 U.S.C. § 1520(a);

                  (iii)   Granting the Petitioner the right and power to examine witnesses, take
                          evidence or deliver information concerning the Debtor’s assets, affairs,
                          rights, obligations or liabilities pursuant to 11 U.S.C. § 1521(a)(4);

                  (iv)    Entrusting to the Petitioner the administration and realization of all of the
                          Debtor’s assets within the territorial jurisdiction of the United States
                          pursuant to 11 U.S.C. § 1521(a)(5); and

                  (v)     Awarding Petitioner such other and further relief as this Court may deem
                          just and proper.

        17.       In the event the Court determines that the Japan Proceeding is not eligible to be

recognized as a foreign main proceeding, Petitioner seeks in the alternative recognition of the

Japan Proceeding as a foreign nonmain proceeding, as defined in 11 U.S.C. § 1502(5), and

requests that the Court grant the relief authorized by §§ 1521(a)(1)-(3) of the Bankruptcy Code

and such other and further relief requested in the paragraphs above.

                                               NOTICE

        18.       Notice to the parties in accordance with Rules 1011(b), 2002(q)(1) and 9007 of

the Federal Rules of Bankruptcy Procedure will be provided pursuant to the Order Granting




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Approval of Amended Notice Procedures with Respect to Recognition Hearing, entered on May

22, 2014 [Docket No. 124].

                                   NO PRIOR REQUEST

       19.     The Petitioner has not previously sought the relief requested herein from this or

any other court.



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                                          CONCLUSION

         WHEREFORE, the Bankruptcy Trustee respectfully requests that this Court enter an

Order, in substantially the form attached hereto as Exhibit E, granting the relief requested herein

and such other and further relief as is just and proper.


Dated:    Dallas, Texas                        GARDERE WYNNE SEWELL LLP
          May 23, 2014

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                                               Thomas Scannell (TX 24070559)
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of MtGox Co., Ltd., a/k/a MtGox KK

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 In re:                                             Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),                  Case No. 14-31229-sgj-15

                Debtor in a Foreign Proceeding.


  FOREIGN REPRESENTATIVE’S STATEMENT PURSUANT TO 11 U.S.C. § 1515(c)

          Petitioner Nobuaki Kobayashi (the “Foreign Representative”), in his capacity as the

bankruptcy trustee and foreign representative of MtGox Co., Ltd., a/k/a MtGox KK (the

“Debtor”), a debtor in a bankruptcy proceeding under Japanese law (the “Japan Proceeding”),
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currently pending before the Twentieth Civil Division of the Tokyo District Court, Japan (the

“Tokyo Court”), by and through his undersigned U.S. counsel, hereby states as follows:

         1.        The Japan Proceeding is the only foreign proceeding with respect to MtGox Co.,

Ltd., a/k/a MtGox KK known to the Foreign Representative.


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              May 23, 2014

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                                           Thomas Scannell (TX 24070559)
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                                           as the Bankruptcy Trustee and Foreign
                                           Representative of MtGox Co., Ltd., a/k/a MtGox
                                           KK




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Counsel for Nobuaki Kobayashi, in his capacity
as the Bankruptcy Trustee and Foreign Representative
of MtGox Co., Ltd., a/k/a MtGox KK

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 In re:                                             Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),                  Case No. 14-31229-sgj-15

                Debtor in a Foreign Proceeding.


                             LIST PURSUANT TO
               FEDERAL RULE OF BANKRUPTCY PROCEDURE 1007(a)(4)

          Petitioner Nobuaki Kobayashi, in his capacity as the bankruptcy trustee and foreign

representative of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor”), a debtor in a bankruptcy

proceeding under Japanese law (the “Japan Proceeding”), currently pending before the Twentieth
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Civil Division of the Tokyo District Court, Japan (the “Tokyo Court”), by and through his

undersigned U.S. counsel, hereby submits the following list in accordance with Rule 1007(a)(4)

of the Federal Rules of Bankruptcy Procedure.

Persons or Bodies Authorized to Administer Foreign Proceedings of the Debtor.

       1.      The duly appointed bankruptcy trustee and foreign representative in the Japan

Proceeding is listed below:

Bankruptcy Trustee and Foreign
Representative of the Debtor

Nobuaki Kobayashi
Nagashima Ohno & Tsunematsu
Kioicho Building, 3-12
Kioicho, Chiyouda-ku
Tokyo 102-0094, Japan

Parties to Litigation Pending in the United States in Which Debtor is a Party.

       2.      The following proceeding in which the Debtor is a defendant is pending in the

United States District Court for the Northern District of Ilinois, Eastern Division:

Gregory Greene and Joseph Lack, individually and on behalf of all other similarly situated, v.
MtGox Inc., et al., Case No. 14-1437 (GF) (N.D. Ill. Feb. 27, 2014).

Parties and Counsel:

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on behalf of all others similarly situated (Class Representative)

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Joseph Lack, individually and
on behalf of all others similarly situated (Class Representative)

Steven L. Woodrow
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Operating Office:
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John Doe Defendants – represented by Class Counsel

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       3.       The following proceeding in which the Debtor is a defendant and counter-

claimant is pending in the United States District Court for the Western District of Washington:

CoinLab, Inc. v. MtGox KK, et al., Case No. 13-0177 (MJP) (W.D. Wash. May 2, 2013)

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Palo Alto, CA 94304

Tibanne Co., Ltd. (named as Tibanne KK)

Mark Karpales (pro se)
11-5, Shibuya 2-chrome
Shibuya-Ku
Tokyo, Japan

Entities Against Whom Provisional Relief Is Being Sought.

       5.      On March 10, 2014, this Court entered the Order Granting Application for

Provisional Relief, Scheduling Recognition Hearing, and Specifying Form and Manner of Notice

[Docket No. 13] (the “1519 Order”). Pursuant to the 1519 Order, this Court granted the Debtor

the “full protections and rights available pursuant to section 1519(a)(1)-(3) of the Bankruptcy

Code . . . [and] section 362 of the Bankruptcy Code is applicable to the Debtor and its assets until

further order of this Court, or as so ordered at the Recognition Hearing.” See 1519 Order ¶ 1.

Therefore, the provisional relief granted under the 1519 Order applies to all entities, including

those listed in the proceedings listed above.



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Dated:   Dallas, Texas             GARDERE WYNNE SEWELL LLP
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                                   KK




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of MtGox Co., Ltd., a/k/a MtGox KK

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 In re:                                                Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),                     Case No. 14-31229-sgj-15

                 Debtor in a Foreign Proceeding.


                 CORPORATE OWNERSHIP STATEMENT PURSUANT
               TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 7007.1

          Nobuaki Kobayashi, in his capacity as the bankruptcy trustee and foreign representative

of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor”), a debtor in a bankruptcy proceeding under

Japanese law, currently pending before the Twentieth Civil Division of the Tokyo District Court,



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Japan, by and through his undersigned U.S. counsel, respectfully submits this Corporate

Ownership Statement pursuant to Rule 7007.1 of the Federal Rules of Bankruptcy Procedure,

and respectfully states as follows:

         1.        Tibanne Co., Ltd. (a/k/a Tibanne KK), a Japanese corporation, owns 88% of the

equity interests in the Debtor.


Dated:        Dallas, Texas                GARDERE WYNNE SEWELL LLP
              May 23, 2014

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                                           KK




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    In re:                                                      Chapter 15

    MtGox Co., Ltd. (a/k/a MtGox KK),                           Case No. 14-31229-sgj-15

                   Debtor in a Foreign Proceeding.


                    ORDER RECOGNIZING FOREIGN MAIN PROCEEDING
                           AND GRANTING RELATED RELIEF

             Upon the Amended Verified Petition for Recognition and Chapter 15 Relief (the

“Amended Recognition Petition”)1 filed by Nobuaki Kobayashi (the “Petitioner”), in his capacity

as the bankruptcy trustee and foreign representative of the above-captioned debtor (the

“Debtor”), seeking recognition of the bankruptcy procedure of the Debtor under Japan’s

Bankruptcy Act currently pending before the Tokyo District Court, Twentieth Civil Division (the

“Japan Proceeding”), as a “foreign main proceeding” pursuant to section 1517 of the Bankruptcy

Code and related relief under Chapter 15; and upon the hearing on the Amended Recognition

1     Capitalized terms referred to but not otherwise defined herein shall have the meanings ascribed to them in the
      Amended Recognition Petition.
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Petition and this Court’s review and consideration of the Amended Recognition Petition, the

Kobayashi Declaration, and the Memorandum of Law;

          IT IS HEREBY FOUND AND DETERMINED THAT:2

          A.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334.

          B.       The consideration of the Amended Recognition Petition and the relief requested

therein is a core proceeding under 28 U.S.C. § 157(b)(2)(P).

          C.       Venue is proper before this Court pursuant to 28 U.S.C. § 1410.

          D.       Good, sufficient, appropriate and timely notice of the filing of the Amended

Recognition Petition and the hearing on the Amended Recognition Petition has been given by the

Petitioner, pursuant to the Order Granting Approval of Amended Notice Procedures with Respect

to Recognition Hearing, entered on May 22, 2014 [Docket No. 124].

          E.       No objections or other responses were filed that have not been overruled,

withdrawn, or otherwise resolved.

          F.       The Petitioner has satisfied the requirements of section 1515 of the Bankruptcy

Code.

          G.       The Petitioner is a “person” pursuant to section 101(41) of the Bankruptcy Code

and is the “foreign representative” of the Debtor as such term is defined in section 101(24) of the

Bankruptcy Code, and the Petitioner has satisfied the requirements of section 1515 of the

Bankruptcy Code and Bankruptcy Rule 1007(a)(4).



2     The findings and conclusions set forth herein and in the record of the hearing on the Amended Recognition
      Petition constitute this Court’s findings of facts and conclusions of law pursuant to Rule 52 of the Federal Rules
      of Civil Procedure, as made applicable herein by Rules 7052 and 9014 of the Federal Rules of Bankruptcy
      Procedure (the “Bankruptcy Rules”). To the extent any of the findings of fact herein constitute findings of fact,
      they are adopted here as such. To the extent any of the conclusions of law herein constitute findings of fact,
      they are adopted as such.


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       H.      The Japan Proceeding is pending in Japan, where the Debtor’s “center of main

interests,” as referred to in section 1517(b)(1) of the Bankruptcy Code, is located and,

accordingly, the Japan Proceeding is a “foreign main proceeding” pursuant to 1502(4) of the

Bankruptcy Code, and is entitled to recognition as a foreign main proceeding pursuant to section

1517(b)(1) of the Bankruptcy Code.

       I.      The Petitioner is the foreign representative of the Debtor within the meaning of

section 101(24) of the Bankruptcy Code.

       J.      The Petitioner is entitled to all the relief provided pursuant to sections 1520,

1521(a)(4) and 1521(a)(5) of the Bankruptcy Code without limitation.

     BASED ON THE FOREGOING FINDINGS OF FACT AND AFTER DUE
DELIBERATION AND SUFFICIENT CAUSE APPEARING THEREFOR, IT IS
HEREBY ORDERED THAT:

       1.      The Amended Recognition Petition is GRANTED.

       2.      The Japan Proceeding is recognized as a foreign main proceeding pursuant to

sections 1517(a) and 1517(b)(1) of the Bankruptcy Code, and all of the effects of recognition as

set forth in section 1520 of the Bankruptcy Code shall apply.

       3.      The Petitioner is and shall be recognized as the foreign representative of the

Debtor.

       4.      The Petitioner is entitled to the full protections and rights enumerated under

sections 1521(a)(4) and (5) of the Bankruptcy Code, and accordingly, the Petitioner:

            a. has the right and power to examine witnesses, take evidence or deliver

               information concerning the Debtor’s assets, affairs, rights, obligations, or

               liabilities; and




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             b. is entrusted with the administration and realization of all of the Debtor’s assets

                within the territorial jurisdiction of the United States.

        5.      The Petitioner is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order.

        6.      This Court shall retain jurisdiction with respect to:        (i) the enforcement,

amendment or modification of this Order; (ii) any requests for additional relief; (iii) any

adversary proceeding in and through this Chapter 15 case; and (iv) any request by an entity for

relief from the provisions of this Order, for cause shown, that is properly commenced and within

the jurisdiction of this Court.

                                   # # # END OF ORDER # # #




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Prepared and Submitted by:

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